Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 1 of 48 Page ID #:6646




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   8   Attorneys for Plaintiffs and the Proposed Classes
   9
                     IN THE UNITED STATES DISTRICT COURT
  10               FOR THE CENTRAL DISTRICT OF CALIFORNIA
  11

  12 BILL SCHEPLER and ADRIAN                      )
                                                   )      CIVIL ACTION NO. 2:18-cv-6043-
     GARCIA, On Behalf of                          )      GW-AFM
  13
     Themselves and All Others                     )
  14 Similarly Situated,                           )
                                                   )
  15                         Plaintiffs,           )      FOURTH AMENDED CLASS
                                                   )      ACTION COMPLAINT
  16                vs.                            )
                                                   )
  17   AMERICAN HONDA MOTOR                        )
       CO., INC.,                                  )      JURY TRIAL DEMANDED
  18                                               )
                             Defendant.            )
  19                                               )
  20
             Plaintiffs, Bill Schepler (“Schepler”) and Adrian Garcia (“Garcia”)
  21
       (collectively, “Plaintiffs”), by and through their attorneys, file this action on
  22
       behalf of themselves and all others similarly situated against Defendant,
  23
       American Honda Motor Co., Inc. (“Defendant” or “Honda” or “AHM”), and
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       allege as follows:
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                                    NATURE OF THE ACTION
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             1.     Plaintiffs bring this action individually and on behalf of a proposed
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       Illinois class and a proposed California class (more fully defined below) for the
  28
       2:18-cv-6043-GW-AFM      Fourth Amended Class Action Complaint                      1
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 2 of 48 Page ID #:6647




   1   benefit and protection of purchasers and lessees of Defendant’s model years
   2   2017 and 2018 Honda CR-Vs (“CR-V(s)” or “Vehicles”). As alleged herein,
   3   Defendant deceptively markets and advertises the CR-V as having a seating
   4   capacity of five and having, as one of its passive safety features, three-point seat
   5   belts at all seating positions when, in fact, it can never, from a reasonable
   6   consumer’s perspective, safely seat five passengers, because when there are
   7   three passengers (with or without one or more car seats installed) in the back
   8   seat of the CR-V, the three passengers cannot each buckle their seat belts safely.
   9   AHM failed to disclose these facts to Plaintiffs and Class members (more fully
  10   defined below) and the acts are in direct contradiction to Defendant’s
  11   presentation of the Vehicles with three belts as well as its marketing,
  12   advertisements, and seat belt warranty.
  13         2.     AHM’s conduct is actionable, as set forth below, in the following
  14   ways: (1) AHM made partial misrepresentations in its web pages and press
  15   releases and on the presentation of the CR-Vs about the rear seating capacity of
  16   the Vehicles that were and are misleading because AHM omitted critical
  17   information about the safety limitations that occur when three people are seated
  18   in the rear seat; and (2) AHM failed to disclose critical and material information
  19   that it had exclusive knowledge of because of the safety defect in the rear seat
  20   belt configuration.
  21         3.     Compounding AHM’s failure to disclose the fact that three people
  22   cannot sit in the rear seats safely, are the misstatements in AHM’s owner’s
  23   manuals, which further emphasize the three-seating capacity in the rear,
  24   although AHM knew that there was no safe way to sit three people in the rear
  25   seats. Further, AHM fails to inform its customers of any limits regarding the rear
  26   seating capacity, nor did it inform Plaintiffs and Class members that the
  27   utilization of a car seat can compromise the ability to maintain the buckled
  28   status of the belts. This presents a safety issue as it prevents customers from
       2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                       2
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 3 of 48 Page ID #:6648




   1   safely seating five people in a CR-V at any given time.
   2         4.     At all relevant times, Defendant has knowingly, misleadingly and
   3   deceptively failed to disclose what its designers and engineers knew: that the
   4   three backseat seat belts can never, from a reasonable consumer’s perspective,
   5   safely be used simultaneously when three passengers are in the backseat (with or
   6   without one or more car seats installed). Defendant had a duty but failed to
   7   disclose that the CR-V can, at most, only simultaneously seat four passengers
   8   safely.
   9         5.     Plaintiffs bring this action on behalf of themselves and all other
  10   similarly-situated consumers to address Defendant’s omissions and false and
  11   misleading advertising relating to the sale and lease of the CR-Vs and to obtain
  12   redress for those who have purchased CR-Vs throughout the United States.
  13   Schepler alleges violations of the Illinois Consumer Fraud and Deceptive
  14   Business Practice Act, 815 ILCS 505/1, et seq. (“ICFDBPA”), and breach of the
  15   Seat Belt Limited Warranty under Illinois law on behalf of the proposed Illinois
  16   class. Garcia alleges violations of the California Consumers Legal Remedies
  17   Act, Civil Code § 1750, et seq. (“CLRA”); the Unfair Competition Law,
  18   California Business and Professions Code § 17200, et seq. (“UCL”); and the
  19   False Advertising Law, California Business and Professions Code § 17500, et
  20   seq. (“FAL”); as well as breach of Seat Belt Limited Warranty under California
  21   law on behalf of the proposed California class.
  22                             JURISDICTION AND VENUE
  23         6.     This Court has subject matter jurisdiction under 28 U.S.C.
  24   § 1332(d)(2)(A) because the claims relating to the matter in controversy exceed
  25   $5 million, exclusive of interest and costs, the proposed classes have at least 100
  26   members, and this is a class action in which certain of the class members
  27   (including Plaintiff) and Defendant are citizens of different states.
  28         7.     Venue is proper in this judicial District under 28 U.S.C. § 1391
       2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                      3
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 4 of 48 Page ID #:6649




   1   because Defendant is a resident of this judicial District and does business
   2   throughout this District and a substantial part of the acts and omissions giving
   3   rise to Plaintiff’s claims herein occurred in or emanated from this District.
   4             8.     At all pertinent times, Defendant was engaged in the marketing,
   5   advertisement, and sale of CR-Vs, which are the subject of this lawsuit, in this
   6   District and throughout the United States.
   7                                              PARTIES
   8             9.     Schepler is, and, at all times relevant to this action has been, a
   9   resident of Sycamore, Illinois, and, thus, is a citizen of Illinois.
  10             10.    Garcia is, and, at all times relevant to this action has been, a
  11   resident of Dinuba, California, and, thus, is a citizen of California.
  12             11.    Defendant is a North American subsidiary of Honda Motor
  13   Company, Ltd., and was founded in 1959. Defendant is headquartered in
  14   Torrance, California, and, thus, is a citizen of California. Defendant markets
  15   and sells the CR-Vs throughout the United States, including in this District.
  16                               SUBSTANTIVE ALLEGATIONS
  17             12.    This is an action brought against Defendant on behalf of Plaintiffs
  18   and all persons who purchased or leased a CR-V in Illinois or California.
  19             13.     The CR-V is a crossover SUV and is Defendant’s mid-range utility
  20   vehicle, originally introduced into the North American market in 1997.
  21             14.    Defendant markets and advertises the CR-V as having a seating
  22   capacity of five with three-point seat belts at all seating positions, although that
  23   is not true and AHM omits that the Vehicles can never, from a reasonable
  24   consumer’s perspective, safely seat five passengers simultaneously, because
  25   when there are three passengers (with or without one or more car seats installed)
  26   in the back seat of the CR-V, the three passengers cannot each buckle their seat
  27   belts safely.1
  28   1
           Model information, http://owners.honda.com/vehicles/information/2018/CR-V/specs#mid^.
       2:18-cv-6043-GW-AFM           Fourth Amended Class Action Complaint                         4
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 5 of 48 Page ID #:6650




   1          15.     Immediately prior to the sale of the 2017 Vehicles in the United
   2   State, on November 30, 2016, Defendant issued a press release regarding the
   3   specifications and features of the model year 2017 CR-V, which listed a seating
   4   capacity of five.2
   5          16.     The model year 2017 CR-V was substantially redesigned and re-
   6   engineered from the previous model, but the model year 2018 CR-V was
   7   essentially unchanged from the 2017 model.3 The backseat seat belt buckle
   8   configuration was among the features that remained the same between the 2017
   9   and 2018 models.
  10          17.     Defendant published a brochure, directed to Plaintiffs and Class
  11   members, advertising the features and benefits of the 2018 CR-V, which
  12   included a description of the vehicle as having “[e]xcellence in every detail,”
  13   including “spacious seating for five.”4
  14          18.     One feature of a vehicle that all consumers are aware of prior to
  15   purchasing or leasing a vehicle is its seating capacity.
  16          19.     Plaintiffs and Class members reasonably expected that all five seat
  17   positions AHM presented as available for use in the Vehicles are accessible and
  18   safe, regardless of location.
  19          20.     When a Vehicle is presented with five seat belts, three in the rear
  20   seat, and is presented in brochures, specifications and internet advertising as
  21   having seating for five, without any equivocation, Plaintiffs and reasonable
  22
       RW1H5JJW (listing the specifications for the 2018 Honda CR-V, including passive safety features)
  23   (last visited December 3, 2020).
  24   2
        Honda, 2017 Honda CR-V Press Kit Specifications & Features, http://hondanews.com/releases/2017-
       honda-cr-v-press-kit-specifications-features?page_size=60&page=5 (last visited December 3, 2020).
  25
       3
        See Car and Driver, 2018 Honda CR-V, https://www.caranddriver.com/reviews/2018-honda-cr-v-in-
  26   depth-model-review (last visited July 10, 2018).
  27   4
          2018 CR-V Brochure at 4 (available for download at https://automobiles.honda.com/cr-
       v?from=crv.honda.com#) (last visited July 10, 2018).
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       2:18-cv-6043-GW-AFM        Fourth Amended Class Action Complaint                                   5
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 6 of 48 Page ID #:6651




   1   consumers did believe and would reasonably believe that the Vehicle could seat
   2   five people safely. In the CR-V, however, this was not possible due to the
   3   defective design of the rear seat belts.
   4             21.    Moreover, because of the defective design, including the overlap of
   5   the seat belts and the buckles, it takes more time to buckle and unbuckle the rear
   6   seat belts in the CR-Vs.
   7             22.    This critical and material information was purposely withheld from
   8   Plaintiffs and Class members by AHM and, had they been aware of the omitted
   9   information, they would not have purchased or leased the Vehicles.
  10             23.    In addition to the brochures and the presentation of the Vehicles
  11   themselves, the specifications of the Vehicles promise and warrant they have a
  12   capacity of five, with two passengers in front and three passengers in back, with
  13   seat belts that safely protect each passenger.
  14             24.    The AHM specifications which are advertised and accompany the
  15   Vehicles also omit the critical and material information that, although the
  16   Vehicles are represented to be five-seaters, they can never, from a reasonable
  17   consumer’s perspective, safely seat five passengers, because when there are
  18   three passengers (with or without one or more car seats installed) in the back
  19   seat of the CR-V, the three passengers cannot each buckle their seat belts safely.
  20             25.    The 2017 CR-V Owner’s Guide and 2018 Owner’s Manual
  21   (collectively, the “Manual(s)”) perpetuate and exacerbate AHM’s fraudulent
  22   omissions because each contain entire sections dedicated to the seat belt features
  23   of the CR-V.5 Both Manuals specifically state that “[a]ll five seating positions
  24   are equipped with lap/shoulder seat belts with emergency locking retractors.” 6
  25   5
        See CR-V 2017 Owner’s Guide, http://techinfo.honda.com/rjanisis/pubs/QS/AH/ATLA1717OG/enu/
       ATLA1717OG.PDF at 5-8 (last accessed October 11, 2018 [hereinafter “2017 Guide”]; CR-V 2018
  26   Owner’s Manual,
       http://techinfo.honda.com/rjanisis/pubs/QS/AH/ATLA1818OG/enu/ATLA1818OG.PDF at 40-48 (last
  27   accessed July 10, 2018 [hereinafter, “2018 Manual”].
  28   6
           2017 Guide at 8; 2018 Manual at 40.
       2:18-cv-6043-GW-AFM          Fourth Amended Class Action Complaint                       6
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 7 of 48 Page ID #:6652




   1   The Manuals also provide instructions on how to fasten a seat belt by
   2   “[i]nsert[ing] the latch plate into the buckle” and warn to “[m]ake sure that the
   3   belt is not twisted or caught on anything.” 7
   4             26.     Honda recognizes the necessity of the proper use of seat belts in its
   5   Vehicles and provides the following “warnings” in its Manual: 1) “Not wearing
   6   a seat belt properly increases the chance of a serious injury or death in a crash,
   7   even though your vehicle has airbags. Be sure you and your passengers always
   8   wear seat belts and always wear them properly;” and 2) “Make sure all seatbelts
   9   are properly positioned before driving.” 8
  10             27.     Honda also recognizes that the CR-V will be operated with children
  11   in car seats in the rear of the Vehicles, as it states that a car seat is the “safest
  12   place for a child,” and, in fact, provides, inter alia, the following warnings in its
  13   Manual: 1) “Children who are unrestrained or improperly restrained can be
  14   seriously injured or killed in a crash;” and 2) “Always place a rear-facing child
  15   seat in the rear seat, not the front.” 9
  16             28.     The CR-V provides two methods of installing a child seat, using a
  17   LATCH-Compatible seat or using the lap/shoulder belt. The 2017 Manual
  18   provides that LATCH -Compatible seats can be installed at any of the rear seat
  19   positions.10 However, according to the 2018 Manual, the CR-V will only allow a
  20   LATCH-Compatible seat to be installed in either of the two outer rear seats (but
  21   not the middle rear seat), while a child seat using the lap/shoulder belt can be
  22   installed in any rear seat.11
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       7
           2017 Guide at 10; 2018 Manual at 7.
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       8
           2017 Guide at 8-10; 2018 Manual at 5-7.
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       9
           2017 Guide at 18-21; 2018 Manual at 15-17.
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       10
           2017 Guide at 21.
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       11
            2018 Manual at 18-19.
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       2:18-cv-6043-GW-AFM          Fourth Amended Class Action Complaint                      7
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 8 of 48 Page ID #:6653




   1         29.    From the early days of child restraint regulations, the center rear
   2   seat position has been considered the safest place in the car, since it is farthest
   3   from the exterior of the vehicle and therefore furthest from impact and intrusion
   4   from any direction. If there are two other passengers in the Vehicle’s back seat
   5   however, that safe placement of a child seat is not available in the Honda CR-V.
   6   AHM failed to provide this information to Plaintiffs and Class members.
   7         30.    Access to the buckles to release in the event of a Vehicle fire, water
   8   immersion, or Vehicle crash would be extremely difficult for the occupant and
   9   likely impossible for others trying to release the occupant under these, or other,
  10   emergency conditions when time is of the essence. Unbuckling of the seat belt
  11   on the CR-V takes more time than in a vehicle where the seat belts do not cross
  12   and overlap. AHM failed to provide this information to Plaintiffs and Class
  13   members.
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  24         31.    Plaintiffs were deceived and reasonable consumers could be and
  25   have been deceived as to the Vehicles’ actual seating capacity, as they can
  26   never, from a reasonable consumer’s perspective, safely seat five passengers,
  27   because when there are three passengers (with or without one or more car seats
  28   installed) in the back seat of the CR-V, the three passengers cannot each buckle
       2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                          8
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 9 of 48 Page ID #:6654




   1   their seat belts safely. This was and is a material fact for Plaintiffs and their
   2   respective proposed classes.
   3             32.    Honda made false representations and omissions about the fact that
   4   the Vehicles can never, from a reasonable consumer’s perspective, safely seat
   5   five passengers at the same time. Honda had a duty but failed to disclose that
   6   the CR-V can, at most, only simultaneously seat four passengers safely.
   7             33.    The CR-Vs are covered by a three-year, 36,000-mile warranty,
   8   under which Defendant will repair or replace any part that is defective in
   9   material or workmanship under normal use. 12
  10             34.    The CR-Vs are also covered by a Seat Belt Limited Warranty that
  11   continues for 15 years or 150,000 miles and states that: “While seat belts cannot
  12   completely remove the possibility of injury, they do provide a very significant
  13   level of protection when used properly. Honda believes the best way to enhance
  14   your safety is to use your seat belt. To encourage their use, the seat belts should
  15   always be in good operating condition.”13
  16             35.    However, despite stating that it encourages seat belt use and
  17   warranting that it will “repair or replace” (including the parts and labor charges)
  18   any Honda seat belt component that “fails to function properly during normal
  19   use,” Honda sells its CR-V knowing that three passengers can never, from a
  20   reasonable consumer’s perspective, be safely buckled in the rear of the Vehicles,
  21   with our without the use of one or more car seats. Thus, the seat belts cannot,
  22   and do not, function properly during foreseeable and normal use.
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         Warranty Booklet for 2017 CR-V at 9,
  25   http://owners.honda.com/Documentum/Warranty/Handbooks/AWL_02971_2017_Honda_Warranty_B
       asebook__KA__FINAL.pdf [2017 Warranty Booklet] (last visited July 10, 2018); Warranty Booklet
  26   for 2018 CR-V at 9,
       http://owners.honda.com/Documentum/Warranty/Handbooks/2018_Honda_Warranty_Basebook_AW
  27   L05251_FINAL.pdf (last visited July 10, 2018) (collectively hereinafter, “Warranty Booklets”).
  28   13
            2017 Warranty Book at 28.
       2:18-cv-6043-GW-AFM          Fourth Amended Class Action Complaint                         9
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 10 of 48 Page ID #:6655




    1             36.     Specifically, Honda omits to state the material fact that it is
    2   impossible for the anchor buckle and rear driver’s-side passenger’s buckle to be
    3   utilized at the same time, without both seat belts overlapping, twisting, and/or
    4   catching. Despite requests by Plaintiffs and members of the proposed classes,
    5   Defendant refuses repair or replace the seatbelts. Defendant’s action, in failing
    6   to repair a known seatbelt defect, which defect it knows actually discourages
    7   seatbelt use, and is therefore a safety hazard, constitutes a breach of the Seat
    8   Belt Limited Warranty.
    9             37.     The CR-V rear seat belts are installed such that the rear driver’s-
   10   side seat belt and rear passenger’s-side seat belt are retractable to the side of the
   11   Vehicle nearest the passenger’s shoulder. The seat belt for the rear middle seat,
   12   however, is a seat belt with a detachable anchor, which retracts into the ceiling
   13   of the Vehicle.14 There is an “anchor buckle” to the middle passenger’s left
   14   wherein a small latch plate may be buckled. The passenger may then proceed to
   15   fasten the seat belt normally, inserting the large latch plate into the buckle to the
   16   passenger’s right. The following images and instructions from the 2017 Guide
   17   illustrate:15
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             See 2017 Guide at 11; 2018 Manual at 46.
   28   15
             2017 Guide at 11.
        2:18-cv-6043-GW-AFM          Fourth Amended Class Action Complaint                      10
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 11 of 48 Page ID #:6656




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   15         38.    However, the configuration of the buckles is such that the middle
   16   passenger’s anchor buckle is to the left of the rear driver’s-side passenger’s
   17   buckle, rendering it impossible for the anchor buckle and rear driver’s-side
   18   passenger’s buckle to be utilized at the same time, without both of the seat belts
   19   overlapping, twisting, and/or catching. As seen in the picture of Plaintiff’s CR-
   20   V’s backseat below, the rear driver’s-side passenger’s buckle is located closest
   21   to the middle seat passenger, while the middle seat passenger’s anchor buckle is
   22   located closest to the rear driver’s-side passenger:
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        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                     11
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 12 of 48 Page ID #:6657




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   11         39.    Therefore, the middle seat passenger is unable to secure the small
   12   latch plate in the anchor buckle without causing the seat belt to get caught on,
   13   overlap with, or become twisted with the seat belt of the rear driver’s-side
   14   passenger, which contradicts Honda’s own safety warnings in its Manuals and
   15   is, independently, a safety issue.
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        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                       12
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 13 of 48 Page ID #:6658




    1         40.    The CR-V’s narrow anchorage points for seat belts limit the ability
    2   to properly and safely use them to install various types of child seats or child
    3   restraints without obstructing access to the left outboard buckle. For example,
    4   when a car seat is installed using lower anchorages in the center rear occupant
    5   position (which was allowed per the AHM’s Manual), there is no safe access to
    6   the Vehicle’s adjacent seat belt buckles.
    7         41.    A child seat in the center position either partially or completely
    8   blocks access to the left outboard buckle. This prevents the left rear seat belt
    9   from being worn in some cases or makes it difficult to buckle, as illustrated by
   10   the following:
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   24         42.    Due to the position of the left rear seat belt’s buckle, some of the
   25   rear bottom corners of child seats installed in the center rear could compress the
   26   left rear buckle’s push button and cause the buckle to release the latch plate, as
   27   illustrated by the following:
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        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                        13
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 14 of 48 Page ID #:6659




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        2:18-cv-6043-GW-AFM   Fourth Amended Class Action Complaint         14
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 15 of 48 Page ID #:6660




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   13         43.    When the J1819 fixture is buckled in the rear center seat, there is no
   14   room to access the seat belts, as illustrated by the following:
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        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                   15
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 16 of 48 Page ID #:6661




    1      44.   With child seats installed in the outboard positions, there is only seven
    2   inches of clearance between the two child seats for the center rear
    3   occupant. This is clearly insufficient and unsafe, as illustrated by the following:
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        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                    16
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 17 of 48 Page ID #:6662




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   13         45.    As a result, Plaintiffs and members of the proposed classes cannot
   14   safely transport three passengers in the backseat of the CR-Vs.
   15         46.    This situation prevents CR-V passengers from complying with the
   16   safety warnings about the use of car seats and seat belts in the Manuals and
   17   pursuant to state law, and presents a safety hazard to passengers in the backseat
   18   of the CR-Vs.
   19         47.    Accordingly, Defendant’s statements in its internet advertising,
   20   specifications, and on the presentation of the Vehicle itself, that the CR-V has a
   21   seating capacity of five with three-point seat belts at all seating positions, are
   22   false and deceptive because AHM omits material information or makes partial
   23   representations while suppressing and omitting the material fact that the three
   24   backseat seat belts can never, from a reasonable consumer’s perspective, safely
   25   be used simultaneously.
   26         48.    The defect is always present and occurs through normal and
   27   foreseeable use of the Vehicles.
   28
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                         17
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 18 of 48 Page ID #:6663




    1   Plaintiffs’ Experiences With Their CR-Vs
    2            Schepler
    3            49.   On or about December 19, 2017, Schepler purchased a model year
    4   2018 CR-V from Brian Bemis Honda Mercedes Benz Volvo in Sycamore,
    5   Illinois, an authorized agent of Defendant (the “Illinois Dealership”). One of the
    6   reasons Schepler purchased the CR-V was the fact that he has five grandchildren
    7   and he wanted a vehicle with a seating capacity of five so that he and his wife
    8   could safely transport their family, including their grandchildren, in their car
    9   seats.
   10            50.   Prior to purchase, on November 30, 2017, Schepler reviewed an
   11   online brochure published by Defendant, titled MY_18_CR-
   12   V_Brochure_Online_Mech1, which, among other things, touted the Vehicle’s
   13   safety and represented that the CR-V had “spacious seating for five” and “seats
   14   five comfortably.” Schepler relied on this brochure and the presentation of the
   15   Vehicle itself as having three rear seatbelts (which impliedly could be used
   16   safely at the same time) in making his purchase.
   17            51.   Soon after his purchase, Schepler realized that the rear driver’s-side
   18   seat belt buckle was “backward” and that the rear driver’s-side passenger could
   19   not buckle his or her seat belt safely and without overlapping the middle
   20   passenger’s anchor buckle.
   21            52.   Concerned for the safety of his backseat passengers, Schepler took
   22   his CR-V to the Illinois Dealership on May 10, 2018, for the Illinois
   23   Dealership’s recommendation on how to address or repair the issue.
   24            53.   The Illinois Dealership photographed the buckle configuration and
   25   sent that picture to Defendant. After attempting to sit three in the backseat, the
   26   Illinois Dealership also explained to AHM that the CR-V “cannot have three
   27   rear passengers in the backseat at the same time per Honda rep.” The Illinois
   28   Dealership also noted that the seat belts overlap and twist, posing a “safety
        2:18-cv-6043-GW-AFM     Fourth Amended Class Action Complaint                      18
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 19 of 48 Page ID #:6664




    1   concern per the owner’s Manual.” A copy of the service invoice is attached
    2   hereto as Exhibit 1.
    3         54.    Defendant would not repair the seatbelts or otherwise correct the
    4   defect in the CR-V in order to permit Schepler to safely seat three backseat
    5   passengers, including in child seats, simultaneously, and refuses to do so.
    6         55.    Schepler would not have purchased the CR-V, or would not have
    7   paid the purchase price that he did, had he known that the CR-V did not have the
    8   full seating capacity that he relied on when purchasing it and that, from a
    9   reasonable consumer’s perspective, he would not be able to safely transport
   10   three passengers, including with car seats, simultaneously, in the backseat of his
   11   CR-V.
   12         56.     Had AHM provided this material information on its online
   13   brochures or on the Monroney Sticker (or elsewhere), Schepler would have seen
   14   the information and been able to use it to avoid purchasing the Vehicle.
   15        Garcia
   16         57.    On or about March 3, 2018, Garcia purchased a model year 2018
   17   CR-V from Clawson Honda in Fresno, California, an authorized agent of
   18   Defendant (the “California Dealership”). One of the reasons Garcia purchased
   19   the CR-V was the fact that he has two young children using car seats, and he
   20   wanted a vehicle with a three-passenger seating capacity in the rear so that either
   21   he or his wife could sit with and tend to the children while in transit.
   22         58.    In the two months prior to purchase, Garcia reviewed and relied on
   23   Defendant’s representations regarding the CR-V’s five-person seating capacity
   24   on Defendant’s website, at the California Dealership, and the presentation of the
   25   Vehicle itself when he went to purchase the Vehicle.
   26         59.    Soon after purchase, Garcia also realized that the rear driver’s-side
   27   seat belt buckle was “backward” and that the rear driver’s-side passenger could
   28
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                     19
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 20 of 48 Page ID #:6665




    1   not buckle his or her seat belt without overlapping the middle passenger’s
    2   anchor buckle.
    3         60.    Concerned with the inability to safely seat a third passenger, Garcia
    4   took his CR-V to the California Dealership on or about April 10, 2019, for the
    5   California Dealership’s recommendation on how to address or repair the issue.
    6         61.    The California Dealership inspected Garcia’s CR-V but “could not
    7   confirm any installed buckles that are incorrect” after “check[ing] some model
    8   vehicle 2018” and finding “the buckles are the same.” A copy of this service
    9   invoice is attached hereto as Exhibit 2.
   10         62.    On or about June 6, 2019, Garcia sent a letter to Defendant
   11   informing it of the issues. Defendant did not repair the seatbelts or otherwise
   12   correct the defect in the CR-V in order to permit Garcia to safely seat three
   13   backseat passengers, including in child seats, simultaneously, and refuses to do
   14   so.
   15         63.    Garcia would not have purchased the CR-V, or would not have paid
   16   the purchase price that he did, had he known that he would not be able to use the
   17   CR-V’s full seating capacity and would not be able to safely transport three
   18   passengers, including with car seats, simultaneously in the backseat of his CR-
   19   V, from a reasonable consumer’s perspective.
   20         64.    Had AHM provided this material information on its website, online
   21   brochures or on the Monroney Sticker (or elsewhere), Garcia would have seen
   22   the information and been able to use it to avoid purchasing the Vehicle.
   23         65.    Plaintiffs both bargained for a five-passenger vehicle where three
   24   people could sit in the rear safely, without the belts and buckles overlapping and
   25   twisting.
   26         66.    Plaintiffs continue to be presented with Honda’s representations
   27   about its vehicles, including the CR-Vs. Plaintiffs desire to purchase and use a
   28   Honda vehicle that is suitable for safely transporting three passengers, including
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                      20
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 21 of 48 Page ID #:6666




    1   those in car seats, in the back seat, and would purchase a sports utility vehicle
    2   from Honda if it made full disclosures regarding the rear seat belt configuration
    3   and safety and sold a vehicle that can transport three passengers, safely, in the
    4   back seat. Schepler’s desire is based on the number of his grandchildren and
    5   need to transport all of them safely, while Garcia’s desire is based on the
    6   number of his children and the need to transport all of them safely.
    7         67.    Given Defendant’s material omissions, however, Plaintiffs have no
    8   way to determine whether any of Honda’s representations about the actual
    9   seating capacity of the CR-V, or any of its other vehicles, are, in fact, complete
   10 or true.
            AHM’s Compliance With Federal Motor Vehicle Standards Does Not
   11
            Indicate The Seat Belts Are Safe
   12         68.    The federal statutory scheme that gives rise to the Federal Motor
   13   Vehicle Safety Standards (“FMVSS”), including FMVSS 208, 209, and 210,
   14   which are implicated with respect to the rear seat belts at issue, defines the term
   15   “safety standard” as a “minimum” one: “Motor vehicle safety standard” means a
   16   minimum standard for motor vehicle or motor vehicle equipment performance.
   17   See 49 U.S.C § 30102 (a)(10).
   18         69.    The objective of a crash test for Federal Motor Vehicle Safety
   19   Standard No. 208 is to determine how well a passenger vehicle would protect its
   20   occupants in the event of a serious, real-world frontal crash. This is sometimes
   21   referred to as the crashworthiness of a vehicle.
   22   https://www.nhtsa.gov/sites/nhtsa.dot.gov/files/nprm_208_0.pdf.
   23         70.    FMVSS 209, Seat Belt Assemblies, specifies requirements for seat
   24   belt assemblies used in passenger cars, multi-purpose passenger vehicles, trucks,
   25   and buses. The standard requires that a seat belt assembly shall be designed for
   26   use by one, and only one, person at any one time.
   27   https://www.nhtsa.gov/sites/nhtsa.dot.gov/files/documents/tp-209-
   28
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                        21
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 22 of 48 Page ID #:6667




    1   08_tag.pdf#:~:text=FMVSS%20209%2C%20Seat%20Belt%20Assemblies,pers
    2   on%20at%20any%20one%20time.
    3         71.    FMVSS 210 establishes requirements for seat belt assembly
    4   anchorages to ensure their proper location for effective occupant restraint and to
    5   reduce the likelihood of their failure.
    6   https://www.nhtsa.gov/sites/nhtsa.dot.gov/files/documents/tp-210-
    7   09a_tag.pdf#:~:text=FMVSS%20210%20establishes%20requirements%20for,M
    8   PVs)%2C%20trucks%20and%20buses.
    9         72.    The FMVSSs are minimum performance standards, not seat belt
   10   design regulations. The National Highway Traffic Safety Administration
   11   (“NHTSA”) does not certify that vehicles or items of motor vehicle equipment
   12   meet the requirements of various FMVSSs.
   13         73.    Compliance with an FMVSS does not mean that the design chosen
   14   for the Vehicles is presumptively safe. In fact, Congress also gave the NHTSA
   15   the power to order manufacturers to issue safety recalls, to notify owners about
   16   safety-related defects and to remedy the defects, notwithstanding the vehicle’s
   17   compliance with the FMVSSs.
   18         74.    Further, the NHTSA has made it clear that compliance with an
   19   FMVSS is not a defense in a product liability lawsuit. See 49 U.S.C. §
   20   30103(e).
   21         75.    Despite the NHTSA’s consistent position, many manufacturers
   22   treat the FMVSSs as ceilings on safety performance rather than as floors from
   23   which to improve safety. When products are engineered with narrow
   24   compliance margins, the level of safety risk increases, even if the product is in
   25   technical compliance with the minimum standard.
   26         76.    For example, as of mid-2019, certain safety features that are now
   27   standard in front seat belts are lacking in the rear seat belts of most vehicles,
   28   including Honda vehicles.
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                        22
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 23 of 48 Page ID #:6668




    1   https://www.nytimes.com/2019/06/12/business/seatbelts-back-seat-safety.html.
    2   The rear seat belts are not tested dynamically, only statically, but despite that,
    3   the vehicles can still meet federal safety standards, which are the minimum level
    4   of protection. Id.
    5         77.    A vehicle that achieves so-called industry awards, determined by
    6   criteria that does not include rear seat belt testing, does not demonstrate that the
    7   vehicle is safe or that the rear seat belt configuration is safe.
    8         78.    As a result of the limited nature of the FMVSSs in dealing with rear
    9   seat belt safety, meeting the FMVSS is not a demonstration of the safety of the
   10   rear seatbelts in the CR-V.
   11         79.    The seat belt designs of other vehicles that briefly included similar
   12   overlapping seat belt configurations to that at issue with the AHM vehicles
   13   (2017 and 2018 Toyota Rav-4, Nissan Rogue, and Chevrolet Equinox) were all
   14   changed for the 2019 models and have each reversed the overlapping buckle
   15   configuration that AHM still utilizes in the Vehicles.
   16   AHM’S Exclusive Knowledge of the Defect
   17         80.    AHM had exclusive knowledge of the problems with the rear seat
   18   belt configuration at issue (where the buckle positions for the rear center seat
   19   and the rear left seat are inverted) well before the 2017 model year Honda CR-V
   20   was released in the United States.
   21         81.    Consumers had complained of a similar design in the 2015 model
   22   year Honda Fit, necessitating AHM to respond to an inquiry by the NHTSA and
   23   to release service bulletins informing consumers that the inverted and crossed
   24   design was intentional. Apparently dismissing those consumer complaints,
   25   AHM introduced the 2017 model year Honda CR-V with a rear seat belt
   26   configuration with inverted and crossed belts that are even harder to buckle.
   27         82.    Honda Research and Development in Japan (“R&D”) changed the
   28   design of the 2017 CR-V to encase (in a rubber boot) the seat belt assembly that
        2:18-cv-6043-GW-AFM     Fourth Amended Class Action Complaint                        23
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 24 of 48 Page ID #:6669




    1   was not encased (or fixed) on prior models, and added webbing material in a
    2   failed attempt to make the seat belt assembly easier for the customers to use.
    3   This attempt failed to address the safety defect inherent in the seat belt
    4   assembly.
    5         83.    Honda R&D in Japan was aware, prior to the release of the
    6   Vehicles in the United States, that the rear seat belts twisted and overlapped.
    7         84.    AHM was aware, prior to the release of Vehicles in the United
    8   States, that the rear seat belts twisted and overlapped.
    9         85.    AHM knew that the boot made some child seats difficult to install,
   10   and that the condition made the rear seat belt configuration unusable for three
   11   passengers, but still continued to advertise and sell the CR-V as a five-seater,
   12   without disclaimer or any other qualification.
   13         86.    AHM engineers had identified and discussed the problems with
   14   crossing and overlapping of the rear seat belts with Honda R&D before the
   15   Vehicles were sold in the United States, at which time the early versions of the
   16   new models were reviewed for any problems before their sale in the United
   17   States.
   18         87.    Despite its concerns and requests for a change in design by AHM
   19   engineers, AHM brought the Vehicles to market in the United States and
   20   presented and advertised the CR-V as a five-seater, without disclaimer or any
   21   other qualification.
   22         88.    In December 2016, a few days after the Vehicle's release in the
   23   United States, AHM again contacted Honda R&D in Japan for assistance in
   24   responding to customer concerns that the “rear seat belt buckles [were] crossed”
   25   and “the buckles are reversed for the left and middle passengers.”
   26         89.    AHM and Honda R&D in Japan knew of the defective design and
   27   safety issues with the rear seat belt design prior to the Vehicle’s sale in the
   28   United States.
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                       24
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 25 of 48 Page ID #:6670




    1         90.    Based on directives and information it received from Honda R&D
    2   in Japan, AHM told its dealers and consumers that the cross-over and
    3   overlapping configuration was based on a “regulation” dictating the seat belt
    4   design. That was false, as there are no such government regulations, only an
    5   internal Honda R&D regulation.
    6         91.    Honda R&D engineers may have tested the seat belt design against
    7   the Honda internal standard, but failed to do rigorous field or practical testing of
    8   the rear seat belt configuration, instead performing only static “informal fit
    9   checks” with no protocol on seat belt usability, insufficient human testing, and
   10   insufficient child safety seat testing; however, even that minimal static testing
   11   showed that child safety seats would overlap with the left rear buckle.
   12         92.    AHM falsely and misleadingly omitted to tell its dealers and
   13   consumers in the United States that the so-called “regulation” upon which it
   14   based its rationale for the seat belt design was not a governmental regulation, but
   15   merely an internal design choice that had little to do with safety.
   16         93.    Not surprisingly, AHM received, and continues to receive,
   17   complaints about the Vehicle’s design, which began almost immediately after
   18   the 2017 model year Honda CR-V was released. These complaints, which
   19   concerned safety issues, continued at least throughout 2017, 2018, and 2019.
   20        Class Members’ Experiences With the CR-Vs
   21         94.    Plaintiffs’ experiences mirror those of numerous other CR-V
   22   purchasers and lessees. The internet contains numerous complaints from owners
   23   and lessees who, like Plaintiffs, were unable to ever safely seat all three backseat
   24   passengers simultaneously, including when using a car seat, because the seat
   25   belts caught, overlapped and twisted. The following is a sample of complaints
   26 appearing in several online forums:
            Just picked my wife’s new 2017 CRV Touring on 1/14/2017 and have
   27
            issues with the 2nd row seating. The 2nd row center seat belt detachable
   28       anchor point and 2nd row left seat belt buckle seem to be crossed in the
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                        25
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 26 of 48 Page ID #:6671




              lower seat. Is this a mfg. error or poor design makes it difficult for the left
    1
              seat passenger to connect or disconnect their seat belt with the center
    2         passenger buckled in. Took the CRV back to the dealer today and they
              checked a number of 2017 CRV’s on the lot and they are all the same,
    3
              crossed over. Dealer told me they would contact Honda’s support center
    4         and let me know in a few days. Seems like a NTSB safety recall or Honda
              TSB is needed to correct the issue. Has anyone heard back from Honda on
    5
              the issue? I missing the reason for the crossed over design?
    6
                     Posted by Ken R. on January 16, 2017 on
    7
                     http://www.crvownersclub.com/forums/27-miscellaneous-
    8                general-cr-v-discussions/129081-2017-crv-2nd-row-center-seat-
                     belt-detachable-anchor-issue.html (last visited July 10, 2018).
    9

   10         My brand new 2017 CRV touring appears to have the detachable anchor
   11
              for the 2nd row center seat belt crossed with the 2nd row left seat belt
              buckle. This configuration causes the center belt and the left seat belt to
   12         cross one another and also makes it difficult for the left seat passenger to
   13
              connect or disconnect their seat belt with the center passenger buckled in.
              This configuration does not allow the person sitting behind the driver to
   14         wear their seat belt when my child’s infant seat is buckled into the center
   15
              as the buckle cannot be accessed. This is a huge safety concern as I travel
              frequently with my infant daughter, son, and son’s friend in the back seat.
   16         There have been multiple other complaints about this which can be
   17         googled. Something needs to be done here.

   18                Posted by an anonymous CR-V owner in Verona, WI on
   19                January 26, 2017 on
                     https://www.carcomplaints.com/Honda/CR-
   20                V/2017/seat_belts_air_bags/seat_belts.shtml (last visited July
   21                10, 2018).

   22         The contact owns a 2017 Honda CR-V. [W]hile attempting to use the rear
   23         passenger side seat belt, it was discovered that in order to latch and secure
              the buckle, the belt had to under lap the rear seat center belt. The issue
   24         made it very difficult to lock and unlock the seat belt. The vehicle was
   25         taken to the dealer ([A]utonation Honda in [W]estminster, [CO]), but the
              cause of the failure was unable to be determined. The manufacturer was
   26         notified of the failure. The failure mileage was 6,000.
   27

   28
        2:18-cv-6043-GW-AFM   Fourth Amended Class Action Complaint                      26
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 27 of 48 Page ID #:6672




                     Posted by an anonymous CR-V owner in Frederick, CO on
    1
                     May 1, 2017 on https://www.carcomplaints.com/Honda/CR-
    2                V/2017/seat_belts_air_bags/seat_belts.shtml (last visited July
                     10, 2018).
    3

    4         I have the same issue. The dealer told me it’s correct. But my passengers
              can’t buckle in.
    5

    6                Posted by teresalies on May 10, 2017 on
                     http://www.crvownersclub.com/forums/27-miscellaneous-
    7
                     general-cr-v-discussions/129081-2017-crv-2nd-row-center-seat-
    8                belt-detachable-anchor-issue.html (last visited July 10, 2018).
    9
              The rear left and middle seat belts overlap. The vehicle is advertised as a
   10         5 seater vehicle but cannot safely be used for 5 passengers, or with a car
   11
              seat in either of those seats with a passenger in the other one.

   12                Posted by an anonymous CR-V owner in Los Angeles, CA on
   13
                     May 13, 2017 on https://www.carcomplaints.com/Honda/CR-
                     V/2017/seat_belts_air_bags/seat_belts.shtml (last visited July
   14                10, 2018).
   15
              Where left rear passenger attaches seat belt & where center rear passenger
   16         attaches seatbelt from headliner, the fasteners in the seat are switched. If
   17         center passenger buckles up first or if carseat is in center position it is
              nearly impossible for left rear passenger to buckle up or unbuckle. This is
   18         due to the attachment points being switched when designed [and/]or
   19         manufactured. Honda dealer says the connections are in proper location &
              belt is operating as designed. This will most likely cause one of five
   20         passengers in this vehicle to not be able to buckle up or unbuckle in an
   21         emergency[.]

   22                Posted by an anonymous CR-V owner in Baytown, TX on May
   23                25, 2017 on https://www.carcomplaints.com/Honda/CR-
                     V/2017/seat_belts_air_bags/seat_belts.shtml (last visited July
   24                10, 2018).
   25
              I just picked mine up last week and my 8 year old pointed out the seatbelt
   26         configuration. The dealer said that they were all like that but weren’t sure
   27         why.

   28
        2:18-cv-6043-GW-AFM   Fourth Amended Class Action Complaint                    27
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 28 of 48 Page ID #:6673




                     Posted by mattkc2016 on October 18, 2017 on
    1
                     http://www.crvownersclub.com/forums/27-miscellaneous-
    2                general-cr-v-discussions/129081-2017-crv-2nd-row-center-seat-
                     belt-detachable-anchor-issue.html (last visited July 10, 2018).
    3

    4         2018 is still configured this way. How in the heck is it possible to correct
              this issue? This is supposed to be a five passenger vehicle but the belt
    5
              layout just about makes that impossible. Honda needs to come up with a
    6         solution to this problem.
    7
                     Posted by Rudyjr on March 6, 2018 on
    8                http://www.crvownersclub.com/forums/27-miscellaneous-
                     general-cr-v-discussions/129081-2017-crv-2nd-row-center-seat-
    9
                     belt-detachable-anchor-issue.html (last visited July 10, 2018).
   10

   11
              The rear center passenger’s left seat belt buckle anchor is reversed making
              it nearly impossible to properly buckle 3 passengers in the back seat. This
   12         is a safety hazard as my center passengers, finding it a herculean feat
   13
              when seated, often decline to buckle up. . . . [W]hen buckled [without] a
              passenger, the belts overlap. Because of this the center passenger’s body
   14         prevents access to the buckle as it is hidden behind the strap of the left
   15
              rear passenger.. . . .

   16                Posted by an anonymous CR-V owner on June 13, 2018 on
   17                https://www.vehie.com/complaints/honda?model=cr-v (last
                     visited July 10, 2018).
   18

   19         Seat Belt problem of the 2018 Honda CR-V 8:
   20         Failure Date: 03/18/2018, Posted by an anonymous CR-V owner
              The rear seat belt anchor is reversed on the center buckle. The anchor is on
   21
              the center passenger's left side and the latch on their right. The rear driver's
   22         side passenger's latch is on their right, but on the far right side of the anchor.
              When a passenger or car seat is belted into the center seat, the seat belts
   23
              obstruct each other, and when forced to latch, appear quite dangerous.
   24
                     http://www.carproblemzoo.com/honda/cr-v/seat-belt-problems.php
   25

   26
              Seat Belt problem of the 2017 Honda CR-V 20:
   27
              Failure Date: 10/06/2017, Posted by an anonymous CR-V owner
   28         The left rear and center rear seat belt buckles, are opposite of what they
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                        28
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 29 of 48 Page ID #:6674




              should be. This arrangement makes it impossible for the left rear passenger,
    1
              to buckle up if the center seat person is buckled in, or a car seat is in place.
    2         Contacted my Honda service department and they forwarded my complaint
              to the district representative, his response was he is aware of the issue but
    3
              there is no fix for the problem. I did some research and found that the Acura
    4         rdx is the same platform as the Honda Cr-v. So I visited the nearest Acura
              dealership, the seat belt buckle arrangement was correct on that Acura rdx.
    5
              Looks like the anchor point and the buckles are exactly the same as the ones
    6         that are in my Honda Cr-v. Would be willing to bet that the Acura seat belt
              assembly would solve the rear seat belt issue on these Honda's, the
    7
              assembly is only $66.00!
    8
                     http://www.carproblemzoo.com/honda/cr-v/seat-belt-problems.php
    9
              95.    Similarly, there are also complaints about this issue on the NHTSA
   10
        website:
   11

   12         NHTSA ID Number: 11033850
              Incident Date October 6, 2017
   13
              Consumer Location HOBART, WI
   14         Vehicle Identification Number 5J6RW2H87HL****
   15
                     “The left rear and center rear seat belt buckles, are opposite of what
   16
                     they should be. This arrangement makes it impossible for the left
   17                rear passenger, to buckle up if the center seat person is buckled in,
                     or a car seat is in place. Contacted my Honda service department
   18
                     and they forwarded my complaint to the district representative, his
   19                response was he is aware of the issue but there is no fix for the
   20
                     problem. I did some research and found that the Acura RDX is the
                     same platform as the Honda CR-V. So i visited the nearest Acura
   21                dealership, the seat belt buckle arrangement was correct on that
   22
                     Acura RDX. Looks like the anchor point and the buckles are
                     exactly the same as the ones that are in my Honda CR-V. Would be
   23                willing to bet that the Acura seat belt assembly would solve the rear
   24
                     seat belt issue on these Honda’s, the assembly is only $66.00! Why
                     should i have to do that when it wasn't my mistake in designing it.
   25                .updated 11/09/17 *bf *JS Updated 7/27/18*JB”
   26
              NHTSA ID Number: 11024022
   27         Incident Date May 1, 2017
              Consumer Location FREDERICK, CO
   28         Vehicle Identification Number 2HKRW2H82HH****
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                      29
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 30 of 48 Page ID #:6675




    1                “TL* The contact owns a 2017 Honda CR-V. While attempting to
                     use the rear passenger side seat belt, it was discovered that in order
    2                to latch and secure the buckle, the belt had to under lap the rear seat
                     center belt. The issue made it very difficult to lock and unlock the
    3                seat belt. The vehicle was taken to the dealer (AutoNation Honda in
                     Westminster, CO), but the cause of the failure was unable to be
    4                determined. The manufacturer was notified of the failure. The failure
                     mileage was 6,000.”
    5

    6         NHTSA ID Number: 10994257
              Incident Date May 13, 2017
    7         Consumer Location LOS ANGELES, CA
    8         Vehicle Identification Number 2HKRW1H8XHH****
    9                “The rear left and middle seat belts overlap. The vehicle is
   10                advertised as a 5 seater vehicle but cannot safely be used for 5
                     passengers or with a car seat in either of those seats with a
   11                passenger in the other one.”
   12

   13         NHTSA ID Number: 10981443
              Incident Date April 27, 2017
   14         Consumer Location RIVERSIDE, MO
              Vehicle Identification Number 2HKRW2H55HH****
   15
                     “Rear passenger seat behind driver and middle passenger seat belt
   16                fasteners are flipped. No one can sit behind the driver and use a seat
                     belt.”
   17
              NHTSA ID Number: 10968007
   18         Incident Date January 26, 2017
              Consumer Location VERONA, WI
   19         Vehicle Identification Number 5J6RW2H96HL****
   20                “My brand new 2017 CR-V touring appears to have the detachable
                     anchor for the 2nd row center seat belt crossed with the 2nd row left
   21                seat belt buckle. This configuration causes the center belt and the left
                     seat belt to cross one another and also makes it difficult for the left
   22                seat passenger to connect or disconnect their seat belt with the center
                     passenger buckled in. This configuration does not allow the person
   23                sitting behind the driver to wear their seat belt when my child's infant
                     seat is buckled into the center as the buckle cannot be accessed. This
   24                is a huge safety concern as i travel frequently with my infant
                     daughter, son, and son's friend in the back seat. There have been
   25                multiple other complaints about this which can be googled.
                     Something needs to be done here.”
   26
                     https://www.nhtsa.gov/vehicle/2017/HONDA/CR-V/SUV/FWD;
   27
                     https://www.nhtsa.gov/vehicle/2018/HONDA/CR-
   28                V/SUV/FWD#complaints
        2:18-cv-6043-GW-AFM   Fourth Amended Class Action Complaint                      30
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 31 of 48 Page ID #:6676




    1         96.    Faced with the continuous stream of safety complaints, AHM
    2   contacted Honda R&D on numerous occasions, reiterating the safety concerns
    3   and continuing to seek a design change from Honda R&D due to the safety
    4   issues.
    5         97.    The information collected and sent by AHM engineers included
    6   confirmation of the service personnel at dealerships, as well as AHM field
    7   service employees who confirmed that the rear buckle and latch system was
    8   difficult to buckle and that the Vehicles can never, from a reasonable
    9   consumer’s perspective, safely seat three rear passengers in the back seat at the
   10   same time.
   11         98.    At least one AHM engineer personally tested the rear seating
   12   capacity, with and without child safety seats, and confirmed the rear buckle
   13   cross-over and that they are obstructed.
   14         99.    Honda was exclusively aware that there were situations when the
   15   seat belt buckles were covered or hidden and three passengers could not safely
   16   sit in the rear seat, but Honda’s response to that knowledge, according to the
   17   Honda R&D engineer who approved the seat belt design, was that, in situations
   18   where the seat belt buckle is hidden, no one should sit in that location. No
   19   customer was given this information.
   20         100. Honda could have designated the CR-V as a four-seater, but chose
   21   not to, opting to present and advertise the vehicle as a five-seater.
   22         101. AHM failed to inform its customers of the seating capacity
   23   limitation of which it was aware, and continued to advertise and sell the
   24   Vehicles as able to safely fit five passengers. Further, Honda’s suggested
   25   solution to the inability to safety seat five (that only four people could buckle) is
   26   directly contrary to its continued promotion and representation of the Vehicle as
   27   having seating capacity for five and the response it gave to every customer that
   28   raised concerns about the seating capacity. Thus, AHM withheld, and continues
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                      31
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 32 of 48 Page ID #:6677




    1   to withhold, material and necessary information from Plaintiffs and Class
    2   members.
    3            102. It is foreseeable that one or more child seats will be used in the rear
    4   of a so-called five passenger vehicle.
    5            103. It takes more time for occupants to buckle and unbuckle in vehicles
    6   with crossed seat belts than in vehicles in which the seat belts do not overlap and
    7   cross.
    8            104. Plaintiffs and Class members complained to AHM, NHTSA, and
    9   elsewhere. Defendant had knowledge that its misrepresentations and omissions
   10   regarding the 2017 CR-V being a five-seater were false and misleading and yet
   11   continues to make the same misrepresentations and omissions regarding the CR-
   12   V to Plaintiffs and Class members, although it is, in reality, a four-seater
   13   Vehicle.
   14            105. Defendant’s marketing and advertising practices and its knowing
   15   omissions of material information are clearly meant to mislead consumers as to
   16   the seating capacity and passive safety features of the CR-V. As a direct and
   17   proximate result of Defendant’s conduct, Plaintiffs and the proposed classes
   18   have suffered and continue to suffer injury in fact, damage, ascertainable loss,
   19   and lost money. Defendant, despite having knowledge that its representations
   20   and omissions about the Vehicle’s seating capacity are misleading to Plaintiffs
   21   and the proposed classes, continues to market and advertise the CR-Vs in a
   22   deceptive manner.
   23            106. Plaintiffs and the proposed classes are at risk of suffering further
   24   injury if the relief sought is not granted.
   25   California Contacts
   26            107. Defendant is headquartered in Torrance, California, located at 1919
   27   Torrance Boulevard, Torrance, CA 90501.
   28
        2:18-cv-6043-GW-AFM      Fourth Amended Class Action Complaint                       32
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 33 of 48 Page ID #:6678




    1            108. Defendant does substantial business in California, and a significant
    2   portion of the Vehicle sales are made in California.
    3            109. California hosts a significant portion of Defendant’s U.S.
    4   operations, including sales and service offices and financial service offices,
    5   among others.
    6            110. In addition, the conduct that forms the basis for each and every
    7   Class member’s claims against Defendant emanated from Defendant’s
    8   headquarters in California and is consistent with directives of Defendant’s
    9   personnel in California.
   10            111. Defendant’s marketing and advertising personnel are located at its
   11   California headquarters, and the advertising and marketing schemes detailing the
   12   seating capacity and passive safety features of the CR-V were made and
   13   implemented from there.
   14            112. Defendant’s California personnel implemented its deceptive
   15   advertising scheme and have refused to repair the seat belt misconfiguration in
   16   Plaintiffs’ CR-Vs.
   17            113. Defendant’s personnel responsible for communicating with dealers
   18   regarding known problems with defective vehicles are also located at its
   19   California headquarters, and the decision not to inform authorized dealers of the
   20   backseat seat belt buckle misconfiguration was made and implemented from
   21   there.
   22            114. Defendant has significant contacts with the State of California, and
   23   the conduct at issue herein emanated from California.
   24            115. As a result of Defendant’s conduct, Plaintiffs and members of the
   25   proposed classes have suffered injury in fact and have otherwise suffered
   26   damages and been harmed and will continue to be harmed in the future unless
   27   Defendant is held accountable for its actions, and inactions, through this
   28   litigation.
        2:18-cv-6043-GW-AFM     Fourth Amended Class Action Complaint                    33
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 34 of 48 Page ID #:6679




    1         116. Plaintiffs seek injunctive relief, actual damages, disgorgement of
    2   profits, statutory damages, attorneys’ fees, costs, and all other relief available to
    3   the class, as defined herein.
    4                         CLASS ACTION ALLEGATIONS
    5         117. Plaintiffs brings this lawsuit, both individually and as a class action,
    6   on behalf of similarly-situated purchasers and lessees of the CR-Vs, pursuant to
    7   Federal Rule of Civil Procedure 23(b)(2) and (3).
    8         118. Plaintiffs seek to represent the following respective classes defined
    9   as follows:
   10
              Illinois Class (represented by Schepler)
   11

   12
                    Illinois Consumer Fraud Class:
              All purchasers and lessees of a new 2017 or 2018 model year Honda
   13         CR-V in Illinois.
   14         California Classes (represented by Garcia)
   15                California Consumer Fraud Class:
              All purchasers and lessees of a 2017 or 2018 model year Honda CR-V
   16         in California.
   17               CLRA Subclass:
              All members of the California Consumer Fraud Class who are “consumers”
   18         within the meaning of California Civil Code § 1761(d).
   19         Excluded from the Illinois Class and California Class (collectively,
   20   “Class” or “Classes”) are Defendant, as well as Defendant’s affiliates,
   21   employees, officers and directors, and the Judge to whom this case is assigned.
   22   Plaintiffs reserve the right to amend the definition of the Classes if discovery
   23   and/or further investigation reveal that the Classes should be expanded or
   24   otherwise modified.
   25         119. Numerosity/Impracticability of Joinder: There are so many
   26   members of the Class that joinder of all members is impracticable. AHM sold
   27   more than 82,000 model year 2017 and 2018 CR-Vs in California and more than
   28
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                       34
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 35 of 48 Page ID #:6680




    1   30,000 in Illinois. The members of the Class are readily identifiable from
    2   information and records in Defendant’s possession, custody, or control. The
    3   disposition of these claims will provide substantial benefits to the members of
    4   the Classes.
    5         120. Commonality and Predominance: There is a well-defined
    6   community of interest and common questions of law and fact that predominate
    7   over any question affecting only individual members of the Classes. These
    8   common legal and factual questions, which do not vary from members of the
    9   Classes, and which may be determined without reference to the individual
   10   circumstances of any members of the Classes, include, but are not limited, to the
   11   following:
   12         a)       whether Defendant’s marketing, advertising and promotion of its
                       CR-Vs was false and misleading;
   13
              b)       whether Defendant omitted and concealed facts from Plaintiffs and
   14                  members of the Classes about the safe seating capacity of the CR-
                       Vs;
   15
              c)       whether Defendant knew, or should have known, that its
   16                  representations were false, and that it omitted material information;
   17         d)       whether Defendant’s conduct was a violation of the ICFDBPA;
   18         e)       whether Defendant’s conduct was a breach of the Seat Belt Limited
                       Warranty under Illinois law;
   19
              f)       whether Defendant’s conduct was a violation of the CLRA;
   20
              g)       whether Defendant’s conduct was a violation of the UCL;
   21
              h)       whether Defendant’s conduct was a violation of the FAL;
   22
              i)       whether Defendant’s conduct was a breach of the Seat Belt Limited
   23                  Warranty under California law;
   24         j)       whether Defendant’s conduct as alleged herein violates public
                       policy; and
   25
              k)       whether Plaintiffs and the members of the Classes are entitled to
   26                  damages, restitution, equitable relief and/or other damages and
                       other relief, and, if so, the amount and nature of such relief.
   27

   28         121. Typicality and Adequacy: Plaintiffs’ claims are typical of the
        2:18-cv-6043-GW-AFM     Fourth Amended Class Action Complaint                      35
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 36 of 48 Page ID #:6681




    1   claims of their respective proposed Classes, and Plaintiffs will fairly and
    2   adequately represent and protect the interests of the proposed Classes. Plaintiffs
    3   do not have any interests antagonistic to those of their respective Classes.
    4   Plaintiffs’ counsel are experienced in the prosecution of this type of litigation.
    5   The questions of law and fact common to the members of the Classes, some of
    6   which are set out above, predominate over any questions affecting only
    7   individual members of the Classes.
    8         122. Superiority: A class action is superior to all other available
    9   methods for the fair and efficient adjudication of this controversy. The expense
   10   and burden of individual litigation would make it impracticable or impossible
   11   for members of the Classes to prosecute their claims individually. The litigation
   12   and trial of the Class-wide claims is manageable.
   13         123. Unless the Class is certified, Defendant will improperly retain
   14   monies that it received from Plaintiffs and members of the Classes as a result of
   15   its conduct. Unless Defendant is required to change its unfair and deceptive
   16   practices, it will continue to commit these violations and the members of the
   17   Classes, and the general public, will continue to be misled.
   18         124. Defendant has acted and refused to act on grounds generally
   19   applicable to the California Class, making appropriate final injunctive relief with
   20   respect to the California Class as a whole.
   21                                       COUNT I
                     Violation of Illinois Consumer Fraud and Deceptive
   22                      Business Practices Act, 815 ILCS 505/2
                                On Behalf of the Illinois Class
   23

   24         125. Schepler incorporates by reference each and every preceding
   25   paragraph as though fully set forth herein.
   26         126. The ICFDBPA makes it unlawful to employ:
   27         Unfair methods of competition and unfair or deceptive acts or
   28         practices, including but not limited to the use or employment of any
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                     36
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 37 of 48 Page ID #:6682




              deceptive fraud, false pretense, false promise, misrepresentation or
    1
              the concealment, suppression or omission of such material fact,
    2         with intent that others rely upon the concealment, suppression or
              omission of such material fact, or the use or employment of any
    3
              practice described in Section 2 of the “Uniform Deceptive Trade
    4         Practices Act,” approved August 5, 1965, in the conduct of any
              trade or commerce are hereby declared unlawful whether any
    5
              person has in fact been misled, deceived or damage thereby.
    6
              815 ILCS 505/2.
    7

    8         127. As detailed throughout this Complaint, Defendant misrepresented
    9   that the CR-Vs have a seating capacity of five with three-point seat belts at all
   10   seating positions, when, in fact, they do not, and omitted the material
   11   information that if there is one car seat, or if there are three backseat passengers,
   12   all three cannot simultaneously buckle their seat belts safely, without
   13   overlapping or twisting at least one of the seat belts, in direct contradiction to
   14   Defendant’s marketing and advertisements.
   15         128. Defendant violated Section 505/2 of the ICFDBPA by
   16   misrepresenting that the Vehicle could safely fit three passengers in the rear seat
   17   and failing to provide Plaintiff and Class members with all of the facts about the
   18   rear seat belt configuration. Specifically, Defendant failed to disclose that the
   19   Vehicles can never, from a reasonable consumer’s perspective, safely seat five
   20   passengers, because when there are three passengers (with or without one or
   21   more car seats installed) in the back seat of the CR-V, the three passengers
   22   cannot each buckle their seat belts safely. Defendant made the
   23   misrepresentations and omissions described throughout this Complaint with the
   24   intent that Schepler and the Illinois Class rely on them and purchase or lease the
   25   CR-Vs.
   26         129. Schepler and the Illinois Class were damaged by Defendant’s
   27   violations and would not have purchased or leased the CR-Vs, or would not
   28
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                         37
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 38 of 48 Page ID #:6683




    1   have paid the purchase price they did, had the facts been known.
    2                                    COUNT II
                  Breach of Seat Belt Limited Warranty Under Illinois Law
    3                          On Behalf of the Illinois Class
    4
              130. Schepler incorporates by reference each and every preceding
    5
        paragraph as though fully set forth herein.
    6
              131. As an express warrantor, manufacturer, and merchant, Defendant
    7
        has certain obligations pursuant to its warranty to repair and replace defects. 818
    8
        ILCS 5/2-312 to 5/2-318.
    9
              132. Defendant expressly warranted the seat belts, under the Seat Belt
   10
        Limited Warranty, promising to repair or replace components that fail to
   11
        function properly during normal use, for 15 years or 150,000 miles, and that
   12
        warranty also states that “Honda believes that the best way to enhance your
   13
        safety is to use your seat belt.”
   14
              133. However, Honda sells/leases its CR-Vs knowing that the Vehicles
   15
        can never, from a reasonable consumer’s perspective, safely seat five
   16
        passengers, because when there are three passengers (with or without one or
   17
        more car seats installed) in the back seat of the CR-V, the three passengers
   18
        cannot each buckle their seat belts safely. Thus, Schepler and Illinois Class
   19
        members are (and have been) deprived of one of the warranted safety features of
   20
        the CR-V.
   21
              134. The unsafe backwards configuration of the backseat seat belts at
   22
        issue in this litigation was present at the time of sale and/or lease to Schepler
   23
        and members of the Illinois Class.
   24
              135. Defendant breached its warranties (and continues to breach its
   25
        warranties) because it wrongfully, uniformly, and repeatedly refuses to repair
   26
        the CR-V’s backseat seat belts, forcing Schepler and the members of the Illinois
   27
        Class to either only seat a maximum of two backseat passengers in their CR-Vs
   28
        2:18-cv-6043-GW-AFM     Fourth Amended Class Action Complaint                       38
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 39 of 48 Page ID #:6684




    1   simultaneously, or risk (in violation of Honda’s own warnings) the safety of
    2   their passengers by having two of their backseat passengers use twisted, caught
    3   or overlapping seat belts.
    4          136. Schepler and the Illinois Class members use their CR-Vs in a
    5   manner consistent with their intended use and performed each and every duty
    6   required under the terms of the warranty including presentment, except as may
    7   have been excused or prevented by the conduct of Defendant or by operation of
    8   law in light of Defendant’s unconscionable conduct described throughout this
    9   Complaint.
   10          137. Defendant received timely notice regarding the problems at issue in
   11   this litigation and, notwithstanding such notice, has failed and refused to offer an
   12   effective remedy.
   13          138. In addition, upon information and belief, Defendant received
   14   numerous complaints, notice of the need for repair and resulting safety issue,
   15   and requests for warranty repairs and coverage from other members of the Class.
   16          139. In its capacity as a supplier and/or warrantor, and by the conduct
   17   described herein, any attempt by Defendant to disclaim or otherwise limit its
   18   express warranties in a manner that would exclude or limit coverage for the seat
   19   belt defect that was present as of the time of sale, which Defendant knew about
   20   prior to offering the CR-Vs for sale, and which Defendant did not disclose and
   21   did not remedy prior to sale (or afterward), is unconscionable, and Defendant
   22   should be estopped from pursuing such defenses.
   23          140. Further, any such effort by Defendant to disclaim or otherwise limit
   24   liability for the defect is null and void because Defendant and its authorized
   25   agents, the dealers, have wrongfully, uniformly, and repeatedly refused and
   26   failed to properly repair or replace the seat belts and buckles.
   27          141. As such, Defendant should be estopped from disclaiming liability
   28   for its actions.
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                     39
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 40 of 48 Page ID #:6685




    1         142. Accordingly, Schepler and the Illinois Class members have suffered
    2   damages caused by Defendant’s breach of the warranty and are entitled to
    3   recover damages as set forth herein.
    4
                                          COUNT III
    5                     Violation of Consumers Legal Remedies Act
                              California Civil Code § 1750, et seq.
    6                          On Behalf of the California Class
    7         143. Garcia incorporates by reference each and every preceding
    8   paragraph as though fully set forth herein.
    9         144. This cause of action is brought under the CLRA. Garcia and
   10   members of the California Class are consumers as defined by California Civil
   11   Code § 1761(d), and the CR-Vs constitute goods within the meaning of the
   12   CLRA.
   13         145. Defendant violated and continues to violate the CLRA by engaging
   14   in the following deceptive practices proscribed by California Civil Code
   15   § 1770(a) in connection with transactions intended to result in, and that did
   16   result in, the sale/lease of the CR-Vs to Garcia and members of the California
   17   Class in violation of, inter alia, the following provisions:
   18                a)       Representing that the goods have characteristics, uses, or
   19         benefits which they do not have (Cal. Civ. Code § 1770(a)(5));
   20                b)       Representing that the goods are of a particular standard,
   21         quality, or grade if they are of another (Cal. Civ. Code § 1770(a)(7));
   22                c)       Advertising goods with the intent not to sell them as
   23         advertised (Cal. Civ. Code § 1770(a)(9));
   24                d)       Representing that a transaction involves rights, remedies, or
   25         obligations that it does not have or involve (Cal. Civ. Code §
   26         1770(a)(14)); and
   27                e)       Representing that the goods have been supplied in
   28         accordance with a previous representation, when they have not (Cal. Civ.
        2:18-cv-6043-GW-AFM      Fourth Amended Class Action Complaint                     40
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 41 of 48 Page ID #:6686




    1         Code § 1770(a)(16)).
    2         146. Garcia and other California Class members, in purchasing/leasing
    3   and using the CR-Vs, did reasonably act in response to Defendant’s above
    4   representations or would have considered the omitted facts set forth herein
    5   material to their purchasing/leasing decision. Garcia and the other members of
    6   the California Class have suffered damages by the wrongful acts and practices of
    7   Defendant that are in violation of California Civil Code § 1781.
    8         147. The representations regarding the CR-Vs were material to Garcia
    9   and members of the California Class. Defendant intended that Garcia and
   10   California Class members would rely on these representations and they did, in
   11   fact, rely on the representations and would have relied on the omitted facts had
   12   they been presented.
   13         148. In accordance with California Civil Code § 1780(a), Garcia and the
   14   members of the California Class seek injunctive relief for Defendant’s violations
   15   of the CLRA.
   16         149. In accordance with California Civil Code §§ 1782(a) and (d),
   17   Garcia has provided Defendant with the appropriate notice and demand, but
   18   Defendant has denied the existence of a defect and refused to provide any relief
   19   to Garcia or the members of the California Class.
   20         150. Garcia seeks for himself and the California Class compensatory and
   21   punitive damages under the CLRA and also to recover attorneys’ fees and costs
   22   pursuant to California Civil Code §§ 1780 and 1781.
   23
                                        COUNT IV
   24                 False and Misleading Advertising in Violation of
                  California Business and Professions Code, § 17500, et seq.
   25                         On Behalf of the California Class
   26         151. Garcia incorporates by reference each and every preceding
   27   paragraph as though fully set forth herein.
   28         152. Defendant’s acts and practices as described herein have deceived
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                   41
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 42 of 48 Page ID #:6687




    1   and/or are likely to deceive members of the California Class and the public. As
    2   detailed throughout this Complaint, Defendant misrepresented that the CR-Vs
    3   have a seating capacity of five with three-point seat belts at all seating positions,
    4   when, in fact, they do not. The Vehicles can never, from a reasonable
    5   consumer’s perspective, safely seat five passengers, because, when there are
    6   three passengers (with or without one or more car seats installed) in the back
    7   seat of the CR-V, the three passengers cannot each buckle their seat belts safely.
    8   This fact is in direct contradiction to Defendant’s marketing and advertisements.
    9         153. By its actions, Defendant has and continues to disseminate uniform
   10   false advertising concerning the CR-Vs, which advertisements, by their nature,
   11   are unfair, deceptive, untrue, or misleading within the meaning of the FAL.
   12   Such advertisements are likely to deceive, and continue to deceive, the
   13   consuming public for the reasons detailed above.
   14         154. The above-described false, misleading, and deceptive advertising
   15   Defendant disseminated continues to have the likelihood to deceive in that
   16   Defendant has failed to disclose the true and actual nature of the CR-Vs and
   17   omitted that they can never, from a reasonable consumer’s perspective, safely fit
   18   three passengers in the rear due to the defective seat belt configuration.
   19   Defendant has failed to initiate a public information campaign to alert
   20   consumers of the CR-Vs’ true nature, which continues to create a misleading
   21   perception of the CR-Vs and their advertised safety features.
   22         155. In making and disseminating the statements alleged herein,
   23   Defendant should have known its advertisements were untrue and misleading, in
   24   violation of the FAL. Garcia and the California Class members based their
   25   decisions to purchase or lease the CR-Vs, in substantial part, on Defendant’s
   26   misrepresentations and omissions regarding the true nature of the seating
   27   capacity and safety features of the CR-Vs. The revenues to Defendant
   28   attributable to the CR-Vs sold or leased using those false and misleading
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                      42
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 43 of 48 Page ID #:6688




    1   advertisements amount to substantial monies paid for the Vehicles. Garcia and
    2   the California Class were injured in fact and lost money as a result.
    3         156. Defendant intended for Garcia and California Class members to
    4   rely on these representations and omissions and Garcia and California Class
    5   members consequently did rely on Defendant’s misrepresentations and
    6   omissions.
    7         157. The misrepresentations and non-disclosures by Defendant of the
    8   material facts detailed above constitute false and misleading advertising and,
    9   therefore, are violations of the FAL.
   10         158. As a result of Defendant’s wrongful conduct, Garcia and California
   11   Class members request that this Court enjoin Defendant from continuing to
   12   violate the FAL. Such conduct is ongoing and continues to this date. Garcia
   13   and the California Class are, therefore, entitled to the relief described below as
   14   appropriate for this cause of action.
   15                                  COUNT V
            Unlawful, Unfair, and Fraudulent Business Practices in Violation of
   16           California Business and Professions Code § 17200, et seq.
                            On Behalf of the California Class
   17
              159. Garcia incorporates by reference each and every preceding
   18
        paragraph as though fully set forth herein.
   19
              160. The UCL defines unfair competition to include any “unfair,”
   20
        “unlawful,” or “fraudulent” business act or practice.
   21
              161. Defendant violated, and continues to violate, the UCL by
   22
        misrepresenting the CR-Vs as have a seating capacity of five with three-point
   23
        seat belts at all seating positions, when, in fact, they do not, and omitting to
   24
        inform its customers that the Vehicles can never, from a reasonable consumer’s
   25
        perspective, safely seat five passengers, because, when there are three
   26
        passengers (with or without one or more car seats installed) in the back seat of
   27
        the CR-V, the three passengers cannot each buckle their seat belts safely. This
   28
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                       43
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 44 of 48 Page ID #:6689




    1   fact is in direct contradiction to Defendant’s marketing and advertisements.
    2         162. By engaging in the above-described acts and practices, Defendant
    3   has committed an unfair business practice within the meaning of the UCL.
    4   Consumers have suffered a substantial injury they could not reasonably have
    5   avoided other than by not purchasing the CR-Vs.
    6         163. Defendant’s acts and practices have deceived and/or are likely to
    7   deceive California Class members and the public and thus constitute a
    8   fraudulent business practice. Defendant uniformly marketed and advertised its
    9   CR-Vs as having a seating capacity of five and having three-point seat belts at
   10   all seating positions, when, in fact, they do not, and omitting to inform its
   11   customers that the Vehicles can never, from a reasonable consumer’s
   12   perspective, safely seat five passengers, because when there are three passengers
   13   (with or without one or more car seats installed) in the back seat of the CR-V,
   14   the three passengers cannot each buckle their seat belts safely.
   15         164. As discussed above, Garcia and the members of the California
   16   Class purchased or leased CR-Vs directly from Defendant and/or its authorized
   17   agents. Garcia and members of the California Class were injured in fact and lost
   18   money as a result of such acts of unfair competition.
   19         165. The injuries suffered by Garcia and California Class members are
   20   greatly outweighed by any potential countervailing benefit to consumers or to
   21   competition, nor are they injuries that Garcia and California Class members
   22   should have or could have reasonably avoided.
   23         166. Defendant received the funds paid by Garcia and the members of
   24   the California Class. Defendant profited by misrepresenting the properties of
   25   the CR-Vs that it otherwise would not have sold or leased. Defendant’s
   26   revenues attributable thereto are, thus, directly traceable to the substantial
   27   dollars paid out by Garcia and the California Class for the CR-Vs.
   28         167. Unless Defendant is enjoined from continuing to engage in the
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                      44
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 45 of 48 Page ID #:6690




    1   omissions of material facts and the unlawful, unfair, and fraudulent business acts
    2   and practices as described herein, which conduct is ongoing, Garcia and the
    3   California Class will continue to be injured by Defendant’s conduct.
    4         168. Defendant, through its acts of unfair competition, has acquired
    5   money from the California Class members. Garcia and the California Class
    6   request this Court to enjoin Defendant from continuing to violate the UCL.
    7         169. The unlawful, unfair, and fraudulent conduct described herein is
    8   ongoing and continues to this date. Garcia and the California Class, therefore,
    9   are entitled to relief described below as appropriate for this cause of action.
   10
                                        COUNT VI
   11           Breach of Seat Belt Limited Warranty Under California Law
                             On Behalf of the California Class
   12

   13         170. Garcia incorporates by reference each and every preceding
   14   paragraph as though fully set forth herein.
   15         171. As an express warrantor, manufacturer, and merchant, Defendant
   16   has certain obligations pursuant to its warranty to repair and replace defects. Cal.
   17   Com. Code § 2313.
   18         172. Defendant expressly warranted the seat belts, under the Seat Belt
   19   Limited Warranty, promising to repair or replace components that fail to
   20   function properly during normal use, for 15 years or 150,000 miles, and that
   21   warranty also states that “Honda believes that the best way to enhance your
   22   safety is to use your seat belt.”
   23         173. However, Honda sells/leases its CR-Vs knowing that the Vehicles
   24   can never, from a reasonable consumer’s perspective, safely seat five
   25   passengers, because when there are three passengers (with or without one or
   26   more car seats installed) in the back seat of the CR-V, the three passengers
   27   cannot each buckle their seat belts safely. Thus, Garcia and California Class
   28   members are (and have been) deprived of one of the warranted safety features of
        2:18-cv-6043-GW-AFM     Fourth Amended Class Action Complaint                     45
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 46 of 48 Page ID #:6691




    1   the CR-V.
    2         174. The unsafe backwards configuration of the backseat seat belts at
    3   issue in this litigation was present at the time of sale and/or lease to Garcia and
    4   members of the California Class.
    5         175. Defendant breached its warranties (and continues to breach its
    6   warranties) because it wrongfully, uniformly, and repeatedly refuses to repair
    7   the CR-V’s backseat seat belt, forcing Garcia and the members of the California
    8   Class to either only seat a maximum of two backseat passengers in their CR-Vs
    9   simultaneously, or risk (in violation of Honda’s own warnings) the safety of
   10   their passengers by having two of their backseat passengers use twisted, caught
   11   or overlapping seat belts.
   12         176. Garcia and the California Class members have used their CR-Vs in
   13   a manner consistent with their intended use and performed each and every duty
   14   required under the terms of the warranty, including presentment, except as may
   15   have been excused or prevented by the conduct of Defendant or by operation of
   16   law in light of Defendant’s unconscionable conduct described throughout this
   17   Complaint.
   18         177. Defendant received timely notice regarding the problems at issue in
   19   this litigation and, notwithstanding such notice, has failed and refused to offer an
   20   effective remedy.
   21         178. In addition, upon information and belief, Defendant received
   22   numerous complaints, notices of the need for repair and the resulting safety
   23   issue, and requests for warranty repairs and coverage from other members of the
   24   Class. In its capacity as a supplier and/or warrantor, and by the conduct
   25   described herein, any attempt by Defendant to disclaim or otherwise limit its
   26   express warranties in a manner that would exclude or limit coverage for the seat
   27   belt defect that was present as of the time of sale/lease, which Defendant knew
   28   about prior to offering the CR-Vs for sale/lease, and which Defendant did not
        2:18-cv-6043-GW-AFM    Fourth Amended Class Action Complaint                     46
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 47 of 48 Page ID #:6692




    1   disclose and did not remedy prior to sale/lease (or afterward), is unconscionable,
    2   and Defendant should be estopped from pursuing such defenses.
    3          179. Further, any such effort by Defendant to disclaim or otherwise limit
    4   liability for the defect is null and void because Defendant and its authorized
    5   agents, the dealers, have wrongfully, uniformly, and repeatedly refused and
    6   failed to properly repair or replace the seat belt buckles.
    7          180. As such, Defendant should be estopped from disclaiming liability
    8   for its actions.
    9          181. Accordingly, Garcia and the California Class members have
   10   suffered damages caused by Defendant’s breach of the warranty and are entitled
   11   to recover damages as set forth herein.
   12
                                      PRAYER FOR RELIEF
   13
               WHEREFORE, Plaintiffs, on behalf of themselves and members of the
   14
        proposed Class, pray for judgment as follows:
   15
                      a)      Certification of the Illinois Class under Federal Rule of Civil
   16                         Procedure 23 and the appointment of Schepler as
                              representative of the Illinois Class and his counsel as Class
   17                         counsel;
   18                 b)      Certification of the California Class under Federal Rule of
                              Civil Procedure 23 and the appointment of Garcia as
   19                         representative of the California Class and his counsel as
                              Class counsel;
   20
                      c)      Compensatory and other damages for economic and non-
   21                         economic damages;
   22                 d)      Awarding restitution and disgorgement of Defendant’s
                              revenues or profits to Plaintiffs and the members of the
   23                         proposed Classes;
   24                 e)      An Order requiring Defendant to cease and desist from
                              engaging in the alleged wrongful conduct and to engage in a
   25                         corrective advertising campaign;
   26                 f)      Statutory pre-judgment and post-judgment interest on any
                              amounts;
   27

   28
        2:18-cv-6043-GW-AFM      Fourth Amended Class Action Complaint                      47
Case 2:18-cv-06043-GW-AFM Document 151 Filed 12/08/20 Page 48 of 48 Page ID #:6693



                     g)       Payment of reasonable attorneys’ fees and recoverable
    1                         litigation expenses as may be allowable under applicable
                              law; and
    2
                     h)       Such other relief as the Court may deem just and proper.
    3

    4                                      JURY DEMAND
    5
              Plaintiffs demand a trial by jury on all causes of action so triable.
    6

    7   Dated: December 8, 2020                   Respectfully submitted,
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   28
        2:18-cv-6043-GW-AFM     Fourth Amended Class Action Complaint                    48
